               Exhibit LLL




Case 1:23-cv-00878-TDS-JEP   Document 124-64   Filed 05/09/25   Page 1 of 10
                              Q          DEMOCRACY NC


                2024 General Election #CountEveryVote Toolkit
                                        (Updated 10/23/24)

BACKGROUND
This toolkit can be used to identify issues that should be flagged during the absentee and
provisional ballot counting process, as well as how to monitor the County Day of Canvass.

TABLE OF CONTENTS
What Is Canvass Monitoring?
%A/hcn Ic I+?


Who will be there?

Who might be there?

What can you expect?

Post-Election State of Play: How is 2024 different?

What we need you to do:

Mail Ballots

Provisional Ballots
    Provisional Ballot Categories

What To Monitor - Provisional Ballots

Other Issues to Monitor:

Data and Resources

Escalating Issues

Report Form




                           Democracy NC I General Election Canvass Monitoring Toolkit 2024 [1]


 Case 1:23-cv-00878-TDS-JEP             Document 124-64       Filed 05/09/25     Page 2 ofDemNC_0005610
                                                                                           10
                                         Q   DEMOCRACY NC



What Is Canvass Monitoring?
      •   Under North Carolina law, the "canvass" is the process of determining that all ballots
          cast in an election have been counted correctly. During the post-election canvass, the
          county "certifies" election results — meaning that election results are final.'
      •   During the canvass process, county election officials review absentee ballots and
          provisional ballots to determine if they should count.2
      •   Absentee ballot canvass and post-election canvass monitoring allows us to document
          and review any issues with voting or the election process, and to offer potential
          solutions as we follow up with advocates.
      •   Canvass meetings also allow us to get unique information such as stories from impacted
          voters, information about voter challenges, and first-hand reports from the county board
          of elections (CBOE).

When Is It?
      •   By law, all county boards of elections must meet at 11 a.m. on the 10th day after Election
          Day for the statewide day of canvass.'
      •   Many counties will hold preliminary canvass meetings (known as pre-canvass meetings)
          between Election Day and the canvass. At these meetings, absentee and provisional
          ballots are counted.4,5,6
      •   Following the county canvass, the State Board of Elections will meet at 11 a.m. on the
          Tuesday three weeks after election day to review election certificates submitted by
          counties and officially certify the election, thus completing the canvass process.'

              Absentee ballots for the General Election will be reviewed by County Boards starting
          on October 1, 2024, and continue every Tuesday unless otherwise indicated.

          'i For the 2024 General Election, County Canvass falls on Friday, November 15, 2024.




1
    N.C. Gen. Stat. § 163-182.5
2 Post-Election Procedures and Audits

3 N.C. Gen. Stat. § 163-182.5
4 Pre-Canvass Absentee Meetings
5 Post-Election Procedures and Audits
6 When Absentee/Mail Ballot Processing and Counting Can Begin
7 N.C. Gen. Stat. § 163-182.5



                                             NC I General Election Canvass Monitoring Toolkit 2024 [2]
                             Democracy
    Case 1:23-cv-00878-TDS-JEP           Document 124-64           Filed 05/09/25     Page 3 ofDemNC_0005611
                                                                                                10
                                 Q        DEMOCRACY NC


Who will be there?
      •   Five (5) County Board Members (three Democrats, two Republicans).$
      •   County board of elections staff and director.'
      •   See our toolkit for more information about your County Board of Elections: Local
          Election Administration Toolkit (English and Spanish)

Who might be there?
      •   Any member of the public who wishes to witness the vote count is allowed to do so. 10
          This includes:
              o Voters, interested in being heard on their disputed or challenged ballots.
              o Partisan observers, potentially from various local, state, and/or federal
                  campaigns.
              o Attorneys, potentially representing voters, groups, or campaigns.
              o Advocacy groups, observing proceedings based on interests they serve.
              o Media, who are finishing reporting on the election.


What can you expect?
      •   These are public meetings. You are entitled to attend. Given past experiences with audio
          and video issues, we recommend that you attend in-person if you feel safe to do so.
      •   Don't be intimidated. You have a right to be there and observe what the county is doing.
      •   Don't be afraid to ask questions of county board staff if there are any mechanisms for
          public input, if necessary. This can be phrased delicately — such as, "Can we ask a
          question if we can't understand what is being said, so the public can follow what is
          happening?"
      •   There is no one "right" way to canvass. All counties work differently, and it is important
          to remember that canvasses may look different in each county.


Post-Election State of Play: How is 2024 different?
      •   In 2024, voters will be required to show an NC driver's license or other acceptable
          photo ID to vote with a regular ballot (click here for a list of acceptable photo IDs).
              o If a voter cannot show an acceptable photo ID, they can vote with a provisional
                 ballot and (1) use an ID Exception Form or (2) return to the county board of
                 elections office by November 14, 2024.
              o During the canvass period, the county board is required to count the provisional
                 ballot unless it unanimously finds that the ID Exception Form is false.


8 N.C. Gen. Stat. § 163-30
9 N.C. Gen. Stat. § 163-35
10 N.C. Gen. Stat.   163-182.2


                            Democracy NC I General Election Canvass Monitoring Toolkit 2024 [3]


    Case 1:23-cv-00878-TDS-JEP           Document 124-64         Filed 05/09/25     Page 4 ofDemNC_0005612
                                                                                              10
                             Q          DEMOCRACY NC

  •   Mail-in ballot voters must send a photocopy of an acceptable photo ID with their ballot
      or return the ID Exception Form that is provided (click here to see the ID Exception
      Form) indicating one or more reasons why a copy of photo ID was not included with the
      mail-in absentee ballot.
  •   Since August 2024, at least 7 lawsuits have been filed against the NC State Board of
      Elections challenging various election administration processes. During pre-canvass
      meetings and on the day of canvass, county board staff and members may reference
      these lawsuits or raise them as a reason to invalidate certain ballots.
  •   Due to Hurricane Helene, voters in at least 25 counties have more flexible options to
      request and return their mail-in ballot. For example, a voter registered in Watauga
      County may drop their mail-in ballot off at Wake's elections office by Election Day.
  •   Mis/disinformation about ballot counting, recent changes to election law, and the
      constitutional amendment ballot referendum may create canvass proceedings that
      could be more heated than in prior cycles as various stakeholders attempt to document
      or challenge the process.


What will you need to do?
  •   Call your CBOE office to confirm dates and times of Pre-canvass meetings and Canvass.
          o Ask if there are virtual options for participating or if you will have to attend in
              person. Report back meeting dates in your report form.
  •   Take lots of notes.
          o Try to identify who is in the room (e.g., which board members are speaking, the
              director, impacted voters, any observers, including parties and lawyers)
          o Jot down any overall numbers, including absentee and provisional totals and
              numbers within provided categories.
                  ■ Board may discuss individual mail-in ballot voters' and their issues,
                      including ballot certification deficiencies, late ballots, or missing Photo ID
                  ■ Board may discuss provisional ballots by category; If you catch names of
                      provisional ballots being discussed, jot those down — such as:
                          • Out of precinct
                          • No record of registration
                          • Jurisdiction dispute
                          • Lack of Photo ID
          o Take notes on voter challenges if they occur
                  ■ What occurred, how did/could the voter respond?
          o Identify the important issues and concerns of the CBOE
                  ■ If the CBOE staff provides a report, record the issues addressed (such as
                      problems with machines/technology or photo ID, cases of voter
                      intimidation, or absentee ballot curing)
          o Did the CBOE go into a closed session?
                  ■ If so, why? How long was the session and was there any debate or
                      discussion about going into closed session?
  •   Grab any documentation provided by the county for the public.
          o As in past election cycles, counties may provide printed documentation of vote


                        Democracy NC I General Election Canvass Monitoring Toolkit 2024 [4]


Case 1:23-cv-00878-TDS-JEP            Document 124-64          Filed 05/09/25       Page 5 ofDemNC_0005613
                                                                                              10
                             Q         DEMOCRACY NC

               totals in key categories to help the public follow the process.
   •   If you're comfortable doing so, talk to impacted voters who are present.
            o If possible, approach voters present who had problems voting. Ask if they'd be
               willing to speak to election experts about their experience.
            o Collect a synopsis of their issue, as these stories are important to bring
               awareness to issues impacting voters in our state.
            o Make sure to collect names, emails, and phone numbers for follow-up.
   •   Ask questions!
            o Before the meeting starts, feel free to introduce yourself to CBOE members and
               staff informing them you are a non-partisan monitor. During this introduction,
               you can ask staff to please explain the process to the public.
            o In between breaks or pauses in the process, you may also approach CBOE
               members and staff about any questions or confusion you have about the process,
               especially if you are having trouble hearing or there is discussion continuing from
               a previous meeting.
                    ■ Please ensure that you are not interrupting or disrupting the canvass
                        process.

 ! NOTE: You will have access to an online report form (at demnc.co/boereportform).
Bring extra paper, or preferably take your computer or tablet to help capture and submit notes
more quickly.


Goals: What we'll do with the information
   •   Your immediate reporting will help election experts more quickly:
          o Identify problems with the process in real-time
          o Advocate for better election policies and voting access in the future
          o Combat election misinformation by capturing stories on the processes used to
              count ballots




                         Democracy NC I General Election Canvass Monitoring Toolkit 2024 [5]


Case 1:23-cv-00878-TDS-JEP            Document 124-64         Filed 05/09/25      Page 6 ofDemNC_0005614
                                                                                            10
                              Q          DEMOCRACY NC


Mail Ballots
Ballots cast by mail are also called absentee ballots. Mail ballots have to be submitted in their
provided envelope, with proper witness signatures (or notary signature), with a copy of
acceptable photo ID or an ID Exception Form, and must be received by the County Board of
Elections office by 7:30 p.m. on Election Day. Detailed instructions for mail are available here.

Ballot curing is when a voter is given the opportunity to rectify an issue with their mail ballot —
instead of it being rejected. If a mail ballot has an issue, the voter is given the option to submit a
cure affidavit or vote a new ballot, depending on the issue. The voter also has the option to vote
in person. The majority of mail ballots are rejected due to a missing voter or witness signature.
For more information on ballot curing, read here.


   NOTE: It is possible that discussion of the cure process is limited. You may hear CBOE staff
mail ballots in categories like "return deficiencies,""ballot application deficiencies,"""photo ID
documentation deficiencies," and "deficiencies discovered at Board meetings."lf CBOE staff does
not provide information, please ask CBOE staff to clarify the ballot issues and how voters have
been contacted about fixing their ballot.

Mail Ballot Issues to Monitor:
    •   Curing Ballots"
            o Were there problems with the ballot cure process?
            o Did any voters show up to the canvass who were unable to cure their ballot?
            o Were there problems with mail-in ballots that included affidavits noting the lack
               of access to a method to attach a copy of photo ID?
    •   Late Mail Ballots
            o Is there any discussion of late mail ballots received after Election Day?
    •   Other Issues
            o Were there problems securing paper for absentee ballots or envelopes?
            o Were there reports of mail delivery failures or other mailing hiccups?
            o Were there problems with absentee ballots that did not include a stamp?
            o Were there reports of mail ballots dropped off at polling places on Election Day?
            o Were there problems with voters tracking their absentee ballots through
               Ba llotTrax?
            o Were there problems with IDs that were photocopied?
            o Were there problems with the barcodes or printing on the envelope?
    •   Absentee Hearings
            o Are there voters present to have their absentee ballot counted? Lawyers or
               others present to represent voters in ballot hearings? Other parties or groups
               present to challenge/contest absentee ballots?


" httDs://democracvnc.ora/research/codifvina-and-imDrovina-the-cure-Drocess/


                          Democracy NC I General Election Canvass Monitoring Toolkit 2024 [6]


 Case 1:23-cv-00878-TDS-JEP             Document 124-64          Filed 05/09/25       Page 7 ofDemNC_0005615
                                                                                                10
                                 Q         DEMOCRACY NC


Provisional Ballots
Provisional ballots are cast by voters when there are questions about their qualifications and
eligibility to vote.12 For more information on provisional voting, read here.

CBOE's are expected to dedicate every effort to correct provisional ballot errors (like, HAVA
document or lack of ID) before canvass meetings where provisional ballots are counted.13
Provisional ballots may be counted in full, partially, or not at all.


Provisional Ballot Categories
      •   Identification Issues
             o Voters are required to show photo ID in order to vote a regular ballot in 2024.
             o Some first-time voters, depending on how they registered, might have been
                  asked to show at least one of the following forms of identification such as: a
                  current and valid photo ID, a current utility bill, bank statement, government
                  check, paycheck, or other government document with the voter's name and
                  registration address.14
             o Voters should be allowed to verify their identity by providing at least one of the
                  above documents to the CBOE following Election Day, even if they didn't have
                  that documentation on Election Day.15
      •   Registration Issues
             o A voter who presents to vote on Election Day but is not on the voter rolls will be
                  given a provisional ballot.
             o Voters who registered to vote at the DMV — but did not appear on voter rolls on
                  Election Day —should have their provisional ballot approved if research shows
                  that the voter made an attempt to register at the DMV.16
                      ■ For more information on DMV registration issues, read here.
      •   Voter Eligibility Issues
             o A voter will be provided with a provisional ballot if they vote out of precinct on
                  Election Day. As long as they vote within their county, at least part of their ballot
                  should count.
             o A voter who shows in the system as having already voted will also be asked to
                  cast a provisional ballot. The county will then conduct research to determine
                  which ballot should count.
      •   Special Issues
             o If a polling place's hours were extended —which sometimes happens due to


12   Post-Election Procedures and Audits
11 Numbered Memo 2023-04
14   https://www.ncleq.gov/EnactedLegisIation/Statutes/HTML/BySection/Chapter 163/GS 163-166.12.html
15   Numbered Memo 2016 - 09
16
     Numbered Memo 2016 - 10


                             Democracy NC I General Election Canvass Monitoring Toolkit 2024 [7]



 Case 1:23-cv-00878-TDS-JEP                Document 124-64         Filed 05/09/25       Page 8 ofDemNC_0005616
                                                                                                  10
                                   Q         DEMOCRACY NC


                   equipment failure, for example — the voter will be offered a provisional ballot.
                   These ballots should all count.

What To Monitor — Provisional Ballots
       •   Were voters unable to reach the CBOE to provide additional information about their
           provisional ballot?
       •   Did the CBOE fail to do appropriate outreach to voters in an attempt to verify provisional
           ballots?
       •   Were there a large number of students who had to vote provisionally? What was the
           cause?
       •   Were there voters who voted provisional because they did not have acceptable photo
           ID?
       •   Were there voters who voted provisional because their voter registration was incorrect?
       •   Were voters who claimed to be registered previously have to vote provisional ballots?
           What reason was given?
       •   Did voters who registered at the DMV have to vote provisional ballots? Were those
           ballots counted?


Other Issues to Monitor:
       •   Duplication of Damaged Ballots"
              o Because most ballots are tabulated with an electronic system, a damaged ballot
                  can lead to the machine being unable to read the ballot. Ballot duplication is
                  when a ballot is corrected or cleaned because of damage. While the original
                  ballot is retained for record-keeping purposes, the cleaned ballot is the one
                  counted by the machine.
              o Is there any discussion about errors including ballot tears, ballot jams, or
                  questions about readability or legitimacy?
       •   Same-Day Registration and Voting
              o Voters who used an Early Voting site to register and cast a ballot will have their
                  identity verified by the county.
              o Was there any discussion of mailings (verifications) being sent to same-day
                  registration (SDR) voters and those mailings being returned?
              o Were any SDR ballots being challenged or denied? If so, how many?
       •   Machine or Software Issues
              o Occasionally, voting sites will experience problems with voting machines or other
                  technology.
              o Was there any discussion about problems involving equipment or voting
                  procedures? What was discussed—and concluded?

17
     Ballot Duplication. 2020


                                Democracy NC I General Election Canvass Monitoring Toolkit 2024 [8]



 Case 1:23-cv-00878-TDS-JEP                 Document 124-64        Filed 05/09/25      Page 9 ofDemNC_0005617
                                                                                                 10
                                  Q          DEMOCRACY NC


      •   Challenges
              o A voter challenge is when a voter's right to register, remain registered, or vote is
                  challenged. A voter can be challenged by any voter in their county 25 days or
                  more before an election or on the day of an election (including early voting). The
                  burden of proof is on the challenger, but the challenged voter might have to
                  provide proof of citizenship or eligibility. If a voter challenge was made during
                 Early Voting or to a voter's mail-in absentee ballot, this challenge will be heard by
                 the County Board of Elections during the day of County Canvass. 18
              o Were voters challenged during the voting period? What happened, and was the
                  challenge sustained?
      •   Poll Worker Issues
              o Were there any issues flagged attributed to poll worker errors? For example, poll
                  workers not giving unaffiliated voters a choice of ballots during a primary
                 election? Or poll workers asking for proof of a voter's disability?
      •   Issues at the Canvass
              o Due to high circulation of voter disinformation because of the Big Lie, there is a
                  possibility for ill-informed citizens to cause disruptions. Take note if any of the
                 following occur:
                      ■ Voters or others denied access to in-person canvass meetings
                      ■ Heated partisan debates influencing the canvass process or results
                      ■ Contentious voter challenges or other barriers to counting every vote
                      ■ Incidents of voter intimidation, threats, or violence


Escalating Issues
      •   When to escalate:
                   ■ The issue prevents (or could prevent) voters from voting;
                   ■ Voters or others denied access to in-person canvass meetings,
                   ■ Contentious voter challenges or other barriers to counting every vote,
                   ■ Incidents of voter intimidation, including threats or violence, or
                   ■ Other occurrences that you feel negatively impact an otherwise fair
                       election outcome
            o The problem is ongoing; and
            o Action can be taken in the short-term to resolve the issue.

When in doubt, call or text the 888-OUR-VOTE Hotline!

                      Hotline Number: 888-687-8683
Report Form
      •   Find and fill out the form online at: demnc.co/boereportform


18   State of North Carolina Election Official Resource Manual

                              Democracy NC I General Election Canvass Monitoring Toolkit 2024 [9]


Case 1:23-cv-00878-TDS-JEP                 Document 124-64       Filed 05/09/25      Page 10 of 10
                                                                                             DemNC_0005618
